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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )                 4:09CR3119
                                       )
            V.                         )
                                       )
CARLOS CARPIO,                         )     MEMORANDUM AND ORDER
                                       )
                  Defendants.          )
                                       )


      This matter is before the court on the Magistrate Judge’s Findings and
Recommendation (“Recommendation”) (filing 68) that Defendant Carlos Carpio’s
motion to suppress (filing 44) be denied. No objections to the Recommendation have
been filed as allowed by 28 U.S.C. § 636(b)(1)(c).

      I have reviewed the Magistrate Judge’s Recommendation pursuant to 28 U.S.C.
§ 636(b)(1) and I find after de novo review that the Recommendation should be
adopted.

      IT IS ORDERED:

      1.    The Magistrate Judge’s Recommendation (filing 68) is adopted;

      2.    Defendant Carlos Carpio’s motion to suppress (filing 44) is denied.

      April 28, 2010.

                                      BY THE COURT:
                                      Richard G. Kopf
                                      United States District Judge
